
100 N.Y.2d 575 (2003)
In the Matter of JOEI R. and Others, Children Alleged to be Permanently Neglected.
IDA S., Appellant; JOSE R., Respondent; ANGEL GUARDIAN CHILDREN AND FAMILY SERVICES, Respondent.
Court of Appeals of the State of New York.
Submitted April 21, 2003.
Decided July 2, 2003.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that dismissed the appeal from Family Court's dispositional order as to appellant, dismissed upon the ground that it does not lie from the Appellate Division order dismissing the appeal from an order entered upon default (see CPLR 5511); motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed Family Court's denial of the motion to vacate, dismissed upon the ground that such portion of the order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied. Motion for poor person relief dismissed as academic.
